Case 2:18-cv-06296-JKS-CLW                   Document 341             Filed 04/25/25          Page 1 of 2 PageID:
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                                                                                                 ABRAHAM J. ZAGER (1941-1999)
                                                                                                LAWRENCE M. FUCHS (1970-2020)
                                                                                                         ANDREW W. KRANTZ
                                                                                                       MICHAEL T. WARSHAW*
                                                                                                               KEVIN I. ASADI
                                                                                                      LYNN E. STAUFENBERG**
                                                                                                             JASON L. WYATTË

                                                                                             ARTHUR L. CHIANESE, OF COUNSEL
                                                                                              SUSAN L. GOLDRING, OF COUNSEL
                                                                                                ALBERT A. ZAGER, OF COUNSEL

                                                                                                         *ADMITTED TO THE NEW YORK BAR
                                                                                           CERTIFIED AS ARBITRATOR AND MEDIATOR, R.1:40

                                                                                                   **ADMITTED TO THE PENNSYLVANIA BAR
                                                                                                        QUALIFIED FAMILY LAW MEDIATOR
                                                                                                                 REGISTERED GUARDIAN

                                                                                                                    Ë LL.M. IN TAXATION


April 25, 2025

Hon. Jamel K. Semper, U.S.D.J.
Frank R. Lautenberg U.S. P.O & Courthouse
2 Federal Square
Courtroom 3
Newark, New Jersey 07102

Re:     Vision Industries Group, Inc. v. ACU Plasmold, Inc.
        Case No.: 2:18-cv-06296

Dear Judge Semper,

I am local counsel for ACU Plasmold, Inc., and Edward Miller, of the New York Bar, is trial
counsel. Pursuant to Your Honor’s direction, we enclose revised exhibit 324-2, Expert Report of
Paul M. Ribaudo..

Thank you for your attention to this matter.

Respectfully submitted,

/s/Michael T. Warshaw
/s/Edward Miller




  119 AVENUE AT THE COMMON n SUITE 4 n SHREWSBURY, NEW JERSEY 07702 n TELEPHONE 732.747.3700 n TELEFAX 732.758.9068
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Hon. Jamel K. Semper, U.S.D.J.
October 2, 2024
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______________________________

I called your Courtroom Deputy, and left a voice mail at approximately 10:30 this morning.
I have not heard back. My schedule is open for Monday, October 21, 2024, and for that
whole week, except Friday, October 25. I have two matters listed that day, one in Freehold
and one in Hackensack. I don’t have Mr. Miller’s schedule, but I have copied him on this
letter to request that he provide me with it so I may let the Court know.

Thank you for your attention to this matter.

Respectfully,
/s/ Edward W. Miller
821 Franklin Ave. Suite 209
Garden City, New York 11530
(917) 770-9016
Attorneys for Defendant ACU


/s/ Michael T Warshaw
Michael T. Warshaw, Esq.
For the firm
Local Counsel for defendant, ACU

cc:     Counsel of Record




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